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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 IN RE:                                                                    CASE NO.: 18-30946-KKS
                                                                                      CHAPTER 7
 Juan Carlos Alboniga,
          Debtor.
 _________________________________/


                    MOTION FOR RELIEF FROM AUTOMATIC STAY


                                 NOTICE OF OPPORTUNITY TO
                                  OBJECT AND FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper
 without further notice or hearing unless a party in interest files a response within twenty-one (21)
 days from the date set forth on the proof of service plus an additional three days for service if any
 party was served by U.S. Mail, or such other period as may be specified in Fed. R. Bankr. P.
 9006(f).
        If you object to the relief requested in this paper, you must file an objection or response
 electronically with the Clerk of the Court or by mail at 110 E. Park Avenue, Suite 100,
 Tallahassee, FL, 32301 and serve a copy on the movant’s attorney, Attorney for Secured Creditor,
 at Robertson, Anschutz & Schneid, PL, 6409 Congress Ave., Suite 100, Boca Raton, FL 33487 and
 any other appropriate person within the time allowed. If you file and serve a response within the
 time permitted, the Court will either schedule and notify you of a hearing or consider the response
 and grant or deny the relief requested without a hearing.
        If you do not file a response within the time permitted, the Court will consider that you do
 not oppose the relief requested in the paper, will proceed to consider the paper without further
 notice or hearing, and may grant the relief requested.




       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Juan Carlos Alboniga, filed a voluntary petition pursuant to Chapter 7 of the

       United States Bankruptcy Code on October 18, 2018.



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2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On September 14, 2012, Debtor(s) executed and delivered a Promissory Note (“Note”)

   and a Mortgage (“Mortgage”) securing payment of the Note in the amount of $198,075.00

   to Primary Residential Mortgage, Inc. The Mortgage was recorded on September 20,

   2012 in Book 6909 at Page 1760 of the Public Records of Escambia County, Florida.

   The loan was transferred to Secured Creditor. True and accurate copies of documents

   establishing a perfected security interest and ability to enforce the terms of the Note are

   attached hereto as Composite Exhibit “A.” The documents include copies of the Note

   with any required indorsements, Recorded Mortgage, Assignment(s) of Mortgage, and

   any other applicable documentation supporting the right to seek a lift of the automatic

   stay and foreclose, if necessary.

5. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,

   judgements, mortgages, and security agreements in support of right to see a lift of the

   automatic stay and foreclose if necessary.

6. The mortgage provides Secured Creditor a lien on the real property located at 9759




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   Harlington Street, Cantonment, Florida 32533, in Escambia County, and legally described

   as stated in the mortgage attached in Composite Exhibit “A.”

7. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since April 1, 2018. See Secured Creditor’s statement in regard to indebtedness

   and default, attached hereto and incorporated herein as Exhibit “B.” A copy of the loan’s

   payment history is attached hereto as Exhibit “C.”

8. The appraised value of the property is $194,281.00. See Exhibit “D” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8). The subject

   property is also encumbered by additional liens in the amount of $129,043.00.

9. Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as

   non-exempt. The Trustee has not abandoned the property.

10. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

11. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

12. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The




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   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

13. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

   incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

   and protecting the property, all of which additional sums are secured by the lien of the

   mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

   alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

   pending or subsequent foreclosure proceeding.

15. A Proposed Order accompanies this Motion. See Exhibit “E” attached hereto.




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       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: December 3, 2018



                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Authorized Agent for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909

                                             By: _/s/ Shreena Augustin___________
                                                 Shreena Augustin, Esquire
                                                 Email: saugustin@rasflaw.com
                                                 FL Bar Number: 0117598




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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on December 3, 2018, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been

served via CM/ECF or United States Mail to the following parties:

Juan Carlos Alboniga
9759 Harlington St.
Cantonment, FL 32533

Martin S. Lewis
Lewis & Jurnovoy, P.A.
1100 North Palafox St.
Pensacola, FL 32501

Sherry Chancellor
Law Office of Sherry F. Chancellor
619 West Chase St.
Pensacola, FL 32502

United States Trustee
110 E. Park Avenue
Suite 128
Tallahassee, FL 32301


                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Authorized Agent for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909

                                           By: _/s/ Shreena Augustin___________
                                               Shreena Augustin, Esquire
                                               Email: saugustin@rasflaw.com
                                               FL Bar Number: 0117598




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             Processing Options Selected:

                   1.                          Loan Number Range

                   2. 000000 - 102918           Date Range

                   3. B                         Output Type

                   4.                           Select State

                   5.                           Escrow Group Code

                   6.                           Message Code

                   7.                           Investor

                   8. 0000000                   Pool

                   9. Y                         Select only loans with Transactions

                  10. N                         Include liquidated loans
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JBAM1036                                              DETAIL TRANSACTION HISTORY                                   JOB DT: 10/29/18
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LOAN#
      JUAN C. ALBONIGA           TYPE: 01-01 FHA                                                              ESC.BAL           .00
BORR2 ADDL INFORMATION                                            INT PD TO 3/01/18    P&I SHORT        .00   CORP ADV      3546.61-
PROP: 9759 HARLINGTON STREET     MAIL: 9759 HARLINGTON ST

      CANTONMENT FL 32533              CANTONMENT      FL 32533
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---TRANSACTION----                             NEXT -AFTER TRANS.BALANCES-        TOTAL     ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------      DUE   PRINCIPAL     ESCROW        AMOUNT      PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

 334 10/22/18 2664 NON CASH FEE ADJ            4/18    173471.30        .00         8.04-          .00     .00      .00        .00       8.04-01
             S/F D   REF#
 333 10/22/18 2664 NON CASH FEE ADJ            4/18    173471.30        .00        37.26-          .00     .00      .00        .00      37.26-01
             S/F D   REF#
 332 10/22/18 2664 NON CASH FEE ADJ            4/18    173471.30        .00        37.26-          .00     .00      .00        .00      37.26-01
             S/F C   REF#
 331 10/22/18 2664 NON CASH FEE ADJ            4/18    173471.30        .00        37.26-          .00     .00      .00        .00      37.26-01
             S/F C   REF#
 330 10/22/18 2664 NON CASH FEE ADJ            4/18    173471.30        .00        37.26-          .00     .00      .00        .00      37.26-01
             S/F C   REF#
 329 10/19/18 2526 CORP ADVANCE ADJUST         4/18    173471.30        .00        17.50           .00     .00      .00      17.50 26
             S/F BT REF# 0000
 328 10/18/18 6226 CORP ADV DISB               4/18 173471.30           .00        15.00-          .00     .00      .00      15.00-26
             PAYEE 63FIELD #1001624188 DUE     10/18/18
             S/F BX REF# 1001624188
 327 10/05/18 6226 CORP ADV DISB               4/18 173471.30           .00        20.00-          .00     .00      .00      20.00-26
             PAYEE 63INSPQ #1001622679 DUE     10/05/18
             S/F BX REF# 1001622679
 326 9/27/18 6226 CORP ADV DISB                4/18 173471.30           .00      560.00-           .00     .00      .00     560.00-26
             PAYEE 61RAZSC #1001621638 DUE      9/27/18
             S/F BX REF# 1001621638
 325 9/27/18 6226 CORP ADV DISB                4/18 173471.30           .00      195.00-           .00     .00      .00     195.00-26
             PAYEE 61RAZSC #1001621638 DUE      9/27/18
             S/F BX REF# 1001621638
 324 9/27/18 6040 FHAMIP     INS DISBURSED     4/18 173471.30           .00      181.02-           .00     .00   181.02-       .00
             PAYEE 40FHAMI #             DUE   11/01/17
             S/F WR REF#
 323 9/27/18 1940 FHAMIP     INS ADVANCE       4/18    173471.30    181.02       181.02            .00     .00   181.02        .00
             S/F WR REF#
 322 9/25/18 6226 CORP ADV DISB                4/18 173471.30           .00        20.00-          .00     .00      .00      20.00-26
             PAYEE 63INSPQ #1001621381 DUE      9/25/18
             S/F BX REF# 1001621381
 321 9/14/18 6226 CORP ADV DISB                4/18 173471.30           .00     1400.00-           .00     .00      .00    1400.00-26
             PAYEE 61RAZSC #1001619922 DUE      9/14/18
             S/F BX REF# 1001619922
 320 9/14/18 6226 CORP ADV DISB                4/18 173471.30           .00      949.11-           .00     .00      .00     949.11-26
             PAYEE 61RAZSC #1001619922 DUE      9/14/18
             S/F BX REF# 1001619922
 319 9/14/18 6226 CORP ADV DISB                4/18 173471.30           .00        30.00-          .00     .00      .00      30.00-26
             PAYEE 61RAZSC #1001619922 DUE      9/14/18
             S/F BX REF# 1001619922
 318 9/14/18 6226 CORP ADV DISB                4/18 173471.30           .00      325.00-           .00     .00      .00     325.00-26
             PAYEE 61RAZSC #1001619922 DUE      9/14/18
             S/F BX REF# 1001619922
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:      2
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                      CONTINUED

 317  8/30/18 6040 FHAMIP    INS DISBURSED 4/18 173471.30          .00       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 316 8/30/18 1940 FHAMIP     INS ADVANCE     4/18 173471.30     181.02       181.02           .00      .00   181.02      .00
             S/F WR REF#
 315 8/15/18 6226 CORP ADV DISB              4/18 173471.30        .00        15.00-          .00      .00      .00    15.00-26
             PAYEE 63INSPQ #1001616352 DUE 8/15/18
             S/F BX REF# 1001616352
 314 7/31/18 6040 FHAMIP     INS DISBURSED 4/18 173471.30          .00       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 313 7/31/18 1940 FHAMIP     INS ADVANCE     4/18 173471.30     181.02       181.02           .00      .00   181.02      .00
             S/F WR REF#
 312 6/26/18 6040 FHAMIP     INS DISBURSED 4/18 173471.30          .00       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 311 6/26/18 1940 FHAMIP     INS ADVANCE     4/18 173471.30     181.02       181.02           .00      .00   181.02      .00
             S/F WR REF#
 310 6/19/18 6050 HAZARD SFR     DISBURSED 4/18 173471.30          .00       902.10-          .00      .00   902.10-     .00
             PAYEE 5003117 #06192018IN DUE 7/08/18
             S/F WR REF# 06192018INS
 309 6/19/18 1950 HAZARD SFR     ADVANCE     4/18 173471.30     902.10       246.03           .00      .00   246.03      .00
             S/F WR REF# 06192018INS
 308 6/18/18 1499 ZZZZF-Late Charges         4/18 173471.30     656.07        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 6/19/18
             S/F     REF#
 307 5/31/18 6040 FHAMIP     INS DISBURSED 4/18 173471.30       656.07       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 306 5/30/18 6226 CORP ADV DISB              4/18 173471.30     837.09        20.00-          .00      .00      .00    20.00-26
             PAYEE 63CYPRE #1001607112 DUE 5/30/18
             S/F BX REF# 1001607112
 305 5/16/18 1499 ZZZZF-Late Charges         4/18 173471.30     837.09        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 5/17/18
             S/F     REF#
 304 5/04/18 6040 FHAMIP     INS DISBURSED 4/18 173471.30       837.09       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 303 4/16/18 1499 ZZZZF-Late Charges         4/18 173471.30    1018.11        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 4/17/18
             S/F     REF#
 302 4/05/18 6040 FHAMIP     INS DISBURSED 4/18 173471.30      1018.11       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 301 3/16/18 1401 ZZZZF-Late Charges         4/18 173471.30    1199.13        14.61           .00      .00      .00      .00      14.61 01
             S/F D   REF#           C
 300 3/16/18 02    PAYMENT                   4/18 173471.30    1199.13      1385.39        370.06   561.36   453.97      .00
                              Int pd to: 3/01/18
             S/F LE REF#            C
 299 3/07/18 6040 FHAMIP     INS DISBURSED 3/18 173841.36       745.16       181.02-          .00      .00   181.02-     .00
             PAYEE 40FHAMI #             DUE 11/01/17
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
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---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                      CONTINUED

             S/F WR REF#
 298  2/16/18 1401 ZZZZF-Late Charges        3/18 173841.36     926.18        14.61           .00      .00       .00       .00      14.61 01
             S/F D   REF#           C
 297 2/16/18 02    PAYMENT                   3/18 173841.36     926.18      1385.39        368.87   562.55    453.97       .00
                              Int pd to: 2/01/18
             S/F LE REF#            C
 296 2/14/18 0283 PAYMENT                    2/18 174210.23     472.21      1340.95        367.68   563.74    409.53       .00
   Effective date: 2/13/18 Int pd to: 1/01/18
             S/F WB REF#            C
 295 2/14/18 2624 FORBEARANCE ADJ            1/18 174577.91      62.68       159.05-          .00      .00       .00    159.05-24
   Effective date: 2/13/18
             S/F WB REF#            C
 294 2/07/18 6040 FHAMIP     INS DISBURSED 1/18 174577.91        62.68       181.02-          .00      .00    181.02-      .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 293 1/24/18 6226 CORP ADV DISB              1/18 174577.91     243.70        15.00-          .00      .00       .00     15.00-26
             PAYEE 63CYPRE #1001588305 DUE 1/24/18
             S/F BX REF# 1001588305
 292 1/24/18 1919 RECOVER ESCROW ADVANCE 1/18 174577.91         243.70       165.83-          .00      .00    165.83-      .00
             S/F LE REF#            C
 291 1/24/18 1324 PMT-FORBEAR SUSP           1/18 174577.91     409.53       159.05           .00      .00       .00    159.05 24
             S/F LE REF#            C
 290 1/24/18 0283 PAYMENT                    1/18 174577.91     409.53      1340.95        366.50   564.92    409.53       .00
                              Int pd to: 12/01/17
             S/F LE REF#            C
 289 1/16/18 1499 ZZZZF-Late Charges        12/17 174944.41        .00        37.26           .00      .00       .00       .00      37.26 01
   Effective date: 1/17/18
             S/F     REF#
 288 1/08/18 6040 FHAMIP     INS DISBURSED 12/17 174944.41         .00       181.02-          .00      .00    181.02-      .00
             PAYEE 40FHAMI #             DUE 11/01/17
             S/F WR REF#
 287 1/08/18 1940 FHAMIP     INS ADVANCE    12/17 174944.41     181.02       165.83           .00      .00    165.83       .00
             S/F WR REF#
 286 12/18/17 1499 ZZZZF-Late Charges       12/17 174944.41      15.19        37.26           .00      .00       .00       .00      37.26 01
   Effective date: 12/19/17
             S/F     REF#
 285 12/05/17 6040 FHAMIP    INS DISBURSED 12/17 174944.41       15.19       181.02-          .00      .00    181.02-      .00
             PAYEE 40FHAMI #             DUE 10/01/16
             S/F WR REF#
 284 11/17/17 6031 COUNTY TAX    DISBURSED 12/17 174944.41      196.21      2158.92-          .00      .00   2158.92-      .00
             PAYEE 31FL00G #             DUE 11/30/17
             S/F WR REF#
 283 11/17/17 11   PRINCIPAL PAYMENT        12/17 174944.41    2355.13        21.79         21.79      .00       .00       .00
             S/F LE REF#            C
 282 11/17/17 1401 ZZZZF-Late Charges       12/17 174966.20    2355.13        37.26           .00      .00       .00       .00      37.26 01
             S/F D   REF#           C
 281 11/17/17 0283 PAYMENT                  12/17 174966.20    2355.13      1340.95        365.25   566.17    409.53       .00
                              Int pd to: 11/01/17
             S/F LE REF#            C
 280 11/16/17 1499 ZZZZF-Late Charges       11/17 175331.45    1945.60        37.26           .00      .00       .00       .00      37.26 01
   Effective date: 11/17/17
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
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---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                      CONTINUED

             S/F     REF#
 279 11/07/17 6040 FHAMIP     INS DISBURSED 11/17 175331.45    1945.60       181.02-          .00      .00   181.02-      .00
             PAYEE 40FHAMI #             DUE 10/01/16
             S/F WR REF#
 278 10/17/17 11   PRINCIPAL PAYMENT        11/17 175331.45    2126.62        21.79         21.79      .00      .00       .00
             S/F LE REF#             C
 277 10/17/17 1401 ZZZZF-Late Charges       11/17 175353.24    2126.62        37.26           .00      .00      .00       .00      37.26 01
             S/F D   REF#            C
 276 10/17/17 0283 PAYMENT                  11/17 175353.24    2126.62      1340.95        364.00   567.42   409.53       .00
                               Int pd to: 10/01/17
             S/F LE REF#             C
 275 10/16/17 1499 ZZZZF-Late Charges       10/17 175717.24    1717.09        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 10/17/17
             S/F     REF#
 274 10/02/17 6040 FHAMIP     INS DISBURSED 10/17 175717.24    1717.09       185.36-          .00      .00   185.36-      .00
             PAYEE 40FHAMI #             DUE 10/01/16
             S/F WR REF#
 273 9/15/17 11    PRINCIPAL PAYMENT        10/17 175717.24    1902.45        59.05         59.05      .00      .00       .00
             S/F LE REF#             C
 272 9/15/17 02    PAYMENT                  10/17 175776.29    1902.45      1340.95        362.64   568.78   409.53       .00
                               Int pd to: 9/01/17
             S/F LE REF#             C
 271 9/08/17 6040 FHAMIP      INS DISBURSED 9/17 176138.93     1492.92       185.36-          .00      .00   185.36-      .00
             PAYEE FHA      #FHA0907C    DUE 10/01/16
             S/F WR REF# FHA0907C
 270 8/16/17 11    PRINCIPAL PAYMENT         9/17 176138.93    1678.28       159.05        159.05      .00      .00       .00
             S/F LE REF#             C
 269 8/16/17 02    PAYMENT                   9/17 176297.98    1678.28      1340.95        360.96   570.46   409.53       .00
                               Int pd to: 8/01/17
             S/F LE REF#             C
 268 7/31/17 6040 FHAMIP      INS DISBURSED 8/17 176658.94     1268.75       185.36-          .00      .00   185.36-      .00
             PAYEE FHA      #            DUE 10/01/16
             S/F WR REF#
 267 7/17/17 11    PRINCIPAL PAYMENT         8/17 176658.94    1454.11        59.05         59.05      .00      .00       .00
             S/F LE REF#             C
 266 7/17/17 02    PAYMENT                   8/17 176717.99    1454.11      1340.95        359.61   571.81   409.53       .00
                               Int pd to: 7/01/17
             S/F LE REF#             C
 265 7/07/17 6050 HAZARD SFR      DISBURSED 7/17 177077.60     1044.58       787.57-          .00      .00   787.57-      .00
             PAYEE 5003117 #07072017IN DUE 7/08/17
             S/F WR REF# 07072017INS
 264 7/03/17 6225 MISC SUSP DISB             7/17 177077.60    1832.15       536.76-          .00      .00      .00    536.76-25
             PAYEE ALBONIG #1006299633 DUE 6/30/17
             S/F SC REF# 1006299633
 263 6/30/17 6040 FHAMIP      INS DISBURSED 7/17 177077.60     1832.15       185.36-          .00      .00   185.36-      .00
             PAYEE FHA      #            DUE 10/01/16
             S/F WR REF#
 262 6/30/17 1325 PMT-MISC SUSP              7/17 177077.60    2017.51       536.76           .00      .00      .00    536.76 25
             S/F AD REF#
 261 6/29/17 6225 MISC SUSP DISB             7/17 177077.60    2017.51       190.76-          .00      .00      .00    190.76-25
             PAYEE ALBONIG #1006292930 DUE 6/28/17
SR497CR-02                            Case 18-30946-KKS
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:      5
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

                          CONTINUED

             S/F SC REF# 1006292930
 260  6/28/17 1325 PMT-MISC SUSP            7/17 177077.60     2017.51       190.76           .00      .00      .00    190.76 25
             S/F AD REF#
 259 6/16/17 11    PRINCIPAL PAYMENT        7/17 177077.60     2017.51        59.05         59.05      .00      .00       .00
             S/F LE REF#            C
 258 6/16/17 02    PAYMENT                  7/17 177136.65     2017.51      1340.95        358.26   573.16   409.53       .00
                              Int pd to: 6/01/17
             S/F LE REF#            C
 257 6/07/17 6040 FHAMIP     INS DISBURSED 6/17 177494.91      1607.98       185.36-          .00      .00   185.36-      .00
             PAYEE NATIONS #            DUE 10/01/16
             S/F WR REF#
 256 5/17/17 11    PRINCIPAL PAYMENT        6/17 177494.91     1793.34        21.79         21.79      .00      .00       .00
             S/F LE REF#            C
 255 5/17/17 1401 ZZZZF-Late Charges        6/17 177516.70     1793.34        37.26           .00      .00      .00       .00      37.26 01
             S/F D   REF#           C
 254 5/17/17 0283 PAYMENT                   6/17 177516.70     1793.34      1340.95        357.04   574.38   409.53       .00
                              Int pd to: 5/01/17
             S/F LE REF#            C
 253 5/16/17 1499 ZZZZF-Late Charges        5/17 177873.74     1383.81        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 5/17/17
             S/F     REF#
 252 5/01/17 11    PRINCIPAL PAYMENT        5/17 177873.74     1383.81       221.79        221.79      .00      .00       .00
             S/F LE REF#            C
 251 5/01/17 1401 ZZZZF-Late Charges        5/17 178095.53     1383.81        37.26           .00      .00      .00       .00      37.26 01
             S/F D   REF#           C
 250 5/01/17 0283 PAYMENT                   5/17 178095.53     1383.81      1340.95        355.17   576.25   409.53       .00
                              Int pd to: 4/01/17
             S/F LE REF#            C
 249 4/27/17 6040 FHAMIP     INS DISBURSED 4/17 178450.70       974.28       185.36-          .00      .00   185.36-      .00
             PAYEE FHA     #            DUE 5/01/17
             S/F     REF#
 248 4/17/17 1499 ZZZZF-Late Charges        4/17 178450.70     1159.64        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 4/18/17
             S/F     REF#
 247 4/03/17 6040 FHAMIP     INS DISBURSED 4/17 178450.70      1159.64       185.36-          .00      .00   185.36-      .00
             PAYEE FHA     #            DUE 4/01/17
             S/F     REF#
 246 3/17/17 11    PRINCIPAL PAYMENT        4/17 178450.70     1345.00       118.75        118.75      .00      .00       .00
             S/F LE REF#            C
 245 3/17/17 1401 ZZZZF-Late Charges        4/17 178569.45     1345.00        32.09           .00      .00      .00       .00      32.09 01
             S/F D   REF#           C
 244 3/17/17 1401 ZZZZF-Late Charges        4/17 178569.45     1345.00        37.26           .00      .00      .00       .00      37.26 01
             S/F D   REF#           C
 243 3/17/17 2624 FORBEARANCE ADJ           4/17 178569.45     1345.00       129.05-          .00      .00      .00    129.05-24
             S/F LE REF#            C
 242 3/17/17 0283 PAYMENT                   4/17 178569.45     1345.00      1340.95        353.65   577.77   409.53       .00
                              Int pd to: 3/01/17
             S/F LE REF#            C
 241 3/16/17 1499 ZZZZF-Late Charges        3/17 178923.10      935.47        32.09           .00      .00      .00       .00      32.09 01
   Effective date: 3/17/17
             S/F     REF#
SR497CR-02                                 Case 18-30946-KKS
                                                     Mr. Cooper Doc 13       Filed 12/03/18    Page 31 of 49               10/29/18 10:12:27
JBAM1036                                            DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                                PAGE:      6
---TRANSACTION----                             NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------      DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                          CONTINUED

 240    3/02/17 0283 PAYMENT                3/17 178923.10         935.47      1340.95        352.51    578.91    409.53       .00
                              Int pd to: 2/01/17
             S/F LE REF#            C
 239 3/02/17 2624 FORBEARANCE ADJ           2/17 179275.61         525.94       590.95-          .00       .00       .00    590.95-24
             S/F LE REF#            C
 238 3/02/17 6040 FHAMIP     INS DISBURSED 2/17 179275.61          525.94       185.36-          .00       .00    185.36-      .00
             PAYEE FHA     #            DUE 3/01/17
             S/F     REF#
 237 2/17/17 1324 PMT-FORBEAR SUSP          2/17 179275.61         711.30       720.00           .00       .00       .00    720.00 24
             S/F LE REF#            C
 236 2/16/17 1499 ZZZZF-Late Charges        2/17 179275.61         711.30        37.26           .00       .00       .00       .00      37.26 01
   Effective date: 2/17/17
             S/F     REF#
 235 2/01/17 6040 FHAMIP     INS DISBURSED 2/17 179275.61          711.30       185.36-          .00       .00    185.36-      .00
             PAYEE FHA     #            DUE 2/01/17
             S/F     REF#
 234 1/13/17 11    PRINCIPAL PAYMENT        2/17 179275.61         896.66        57.60         57.60       .00       .00       .00
             S/F LE REF#            C
 233 1/13/17 02    PAYMENT                  2/17 179333.21         896.66      1342.40        351.19    580.23    410.98       .00
                              Int pd to: 1/01/17
             S/F LE REF#            C
 232 1/04/17 6040 FHAMIP     INS DISBURSED 1/17 179684.40          485.68       185.36-          .00       .00    185.36-      .00
             PAYEE FHA     #            DUE 1/01/17
             S/F     REF#
 231 12/28/16 60OV OVERAGE       DISBURSED 1/17 179684.40          671.04       190.76-          .00       .00    190.76-      .00
             PAYEE ALBONIG #0005826666 DUE 0/00/00
             S/F SC REF# 0005826666
 230 12/27/16 2543 ESCROW ADJ               1/17 179684.40         861.80       861.80           .00       .00    861.80       .00
             S/F TR REF#
 229 12/27/16 8199 NEW INV AYF/0755094      1/17 179684.40            .00    179684.40-    179684.40-      .00       .00       .00
             S/F TR REF#
 228 12/27/16 3199 OLD INV AT7/0755094      1/17       .00            .00    179684.40     179684.40       .00       .00       .00
             S/F TR REF#
 227 12/27/16 2643 ESCROW ADJ               1/17 179684.40            .00       861.80-          .00       .00    861.80-      .00
             S/F TR REF#
 226 12/16/16 11   PRINCIPAL PAYMENT        1/17 179684.40         861.80        57.60         57.60       .00       .00       .00
             S/F LE REF#            C
 225 12/16/16 02   PAYMENT                  1/17 179742.00         861.80      1342.40        349.87    581.55    410.98       .00
                              Int pd to: 12/01/16
             S/F LE REF#            C
 224 11/29/16 6040 FHAMIP    INS DISBURSED 12/16 180091.87         450.82       185.36-          .00       .00    185.36-      .00
             PAYEE FHA     #            DUE 12/01/16
             S/F     REF#
 223 11/18/16 11   PRINCIPAL PAYMENT       12/16 180091.87         636.18        20.34         20.34       .00       .00       .00
             S/F LE REF#            C
 222 11/18/16 1401 ZZZZF-Late Charges      12/16 180112.21         636.18        37.26           .00       .00       .00       .00      37.26 01
             S/F D   REF#           C
 221 11/18/16 0283 PAYMENT                 12/16 180112.21         636.18      1342.40        348.68    582.74    410.98       .00
                              Int pd to: 11/01/16
             S/F LE REF#            C
 220 11/17/16 6031 COUNTY TAX    DISBURSED 11/16 180460.89         225.20      1740.02-          .00       .00   1740.02-      .00
SR497CR-02                             Case 18-30946-KKS
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:      7
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                      CONTINUED

             PAYEE 31FL00G #              DUE 11/30/16
             S/F WR REF#
 219 11/16/16 1499 ZZZZF-Late Charges        11/16 180460.89   1965.22        37.26           .00      .00       .00       .00      37.26 01
   Effective date: 11/17/16
             S/F     REF#
 218 11/09/16 1531 COUNTY TAX     DEPOSIT    11/16 180460.89   1965.22      1740.02           .00      .00   1740.02       .00
             S/F AD REF# 0000
 217 11/08/16 6031 COUNTY TAX     DISBURSED 11/16 180460.89     225.20      1740.02-          .00      .00   1740.02-      .00
             PAYEE 31FL00G #              DUE 11/30/16
             S/F WR REF#
 216 11/01/16 6040 FHAMIP     INS DISBURSED 11/16 180460.89    1965.22       185.36-          .00      .00    185.36-      .00
             PAYEE FHA      #             DUE 11/01/16
             S/F     REF#
 215 10/18/16 11   PRINCIPAL PAYMENT         11/16 180460.89   2150.58        20.34         20.34      .00       .00       .00
             S/F LE REF#             C
 214 10/18/16 1401 ZZZZF-Late Charges        11/16 180481.23   2150.58        37.26           .00      .00       .00       .00      37.26 01
             S/F D   REF#            C
 213 10/18/16 0283 PAYMENT                   11/16 180481.23   2150.58      1342.40        347.49   583.93    410.98       .00
                               Int pd to: 10/01/16
             S/F LE REF#             C
 212 10/17/16 1499 ZZZZF-Late Charges        10/16 180828.72   1739.60        37.26           .00      .00       .00       .00      37.26 01
             S/F     REF#
 211 9/29/16 6040 FHAMIP      INS DISBURSED 10/16 180828.72    1739.60       189.53-          .00      .00    189.53-      .00
             PAYEE FHA      #             DUE 10/01/16
             S/F     REF#
 210 9/22/16 11    PRINCIPAL PAYMENT         10/16 180828.72   1929.13       123.94        123.94      .00       .00       .00
             S/F LE REF#             C
 209 9/22/16 1401 ZZZZF-Late Charges         10/16 180952.66   1929.13        32.65           .00      .00       .00       .00      32.65 01
             S/F D   REF#            C
 208 9/22/16 1401 ZZZZF-Late Charges         10/16 180952.66   1929.13         6.95           .00      .00       .00       .00       6.95 01
             S/F D   REF#            C
 207 9/22/16 1401 ZZZZF-Late Charges         10/16 180952.66   1929.13         9.26           .00      .00       .00       .00       9.26 01
             S/F D   REF#            C
 206 9/22/16 2624 FORBEARANCE ADJ            10/16 180952.66   1929.13       115.20-          .00      .00       .00    115.20-24
             S/F LE REF#             C
 205 9/22/16 0283 PAYMENT                    10/16 180952.66   1929.13      1342.40        345.98   585.44    410.98       .00
                               Int pd to: 9/01/16
             S/F LE REF#             C
 204 9/16/16 1499 ZZZZF-Late Charges          9/16 181298.64   1518.15        32.65           .00      .00       .00       .00      32.65 01
             S/F     REF#
 203 8/31/16 6040 FHAMIP      INS DISBURSED 9/16 181298.64     1518.15       189.53-          .00      .00    189.53-      .00
             PAYEE FHA      #             DUE 9/01/16
             S/F     REF#
 202 8/19/16 0283 PAYMENT                     9/16 181298.64   1707.68      1342.40        344.86   586.56    410.98       .00
                               Int pd to: 8/01/16
             S/F LE REF#             C
 201 8/19/16 2624 FORBEARANCE ADJ             8/16 181643.50   1296.70       642.40-          .00      .00       .00    642.40-24
             S/F LE REF#             C
 200 8/18/16 6050 HAZARD SFR      DISBURSED 8/16 181643.50     1296.70       950.00-          .00      .00    950.00-      .00
             PAYEE 5001140 #08182016IN DUE 9/07/16
             S/F WR REF# 08182016INS
SR497CR-02                              Case 18-30946-KKS
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JBAM1036                                          DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
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---TRANSACTION----                           NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------    DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                       CONTINUED

 199    8/16/16 1499 ZZZZF-Late Charges       8/16 181643.50    2246.70         6.95           .00      .00      .00       .00       6.95 01
               S/F     REF#
 198    8/16/16 1324 PMT-FORBEAR SUSP         8/16 181643.50    2246.70       700.00           .00      .00      .00    700.00 24
               S/F LE REF#            C
 197    7/28/16 6040 FHAMIP    INS DISBURSED 8/16 181643.50     2246.70       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 8/01/16
               S/F     REF#
 196    7/20/16 0283 PAYMENT                  8/16 181643.50    2436.23      1342.40        343.75   587.67   410.98       .00
                                Int pd to: 7/01/16
               S/F LE REF#            C
 195    7/20/16 2624 FORBEARANCE ADJ          7/16 181987.25    2025.25       642.40-          .00      .00      .00    642.40-24
               S/F LE REF#            C
 194    7/18/16 1499 ZZZZF-Late Charges       7/16 181987.25    2025.25         9.26           .00      .00      .00       .00       9.26 01
               S/F     REF#
 193    7/15/16 1324 PMT-FORBEAR SUSP         7/16 181987.25    2025.25       700.00           .00      .00      .00    700.00 24
               S/F LE REF#            C
 192    7/06/16 6040 FHAMIP    INS DISBURSED 7/16 181987.25     2025.25       189.53-          .00      .00   189.53-      .00
               S/F WR REF#
 191    6/27/16 11   PRINCIPAL PAYMENT        7/16 181987.25    2214.78       120.34        120.34      .00      .00       .00
               S/F LE REF#            C
 190    6/27/16 1401 ZZZZF-Late Charges       7/16 182107.59    2214.78        37.26           .00      .00      .00       .00      37.26 01
               S/F D   REF#           C
 189    6/27/16 0283 PAYMENT                  7/16 182107.59    2214.78      1342.40        342.26   589.16   410.98       .00
                                Int pd to: 6/01/16
               S/F LE REF#            C
 188    6/16/16 1499 ZZZZF-Late Charges       6/16 182449.85    1803.80        37.26           .00      .00      .00       .00      37.26 01
               S/F     REF#
 187    6/03/16 6040 FHAMIP    INS DISBURSED 6/16 182449.85     1803.80       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 6/01/16
               S/F     REF#
 186    5/16/16 11   PRINCIPAL PAYMENT        6/16 182449.85    1993.33       163.54        163.54      .00      .00       .00
               S/F LE REF#            C
 185    5/16/16 1401 ZZZZF-Late Charges       6/16 182613.39    1993.33         9.26           .00      .00      .00       .00       9.26 01
               S/F D   REF#           C
 184    5/16/16 02   PAYMENT                  6/16 182613.39    1993.33      1342.40        340.63   590.79   410.98       .00
                                Int pd to: 5/01/16
               S/F LE REF#            C
 183    5/16/16 2624 FORBEARANCE ADJ          5/16 182954.02    1582.35       172.80-          .00      .00      .00    172.80-24
               S/F LE REF#            C
 182    5/16/16 2624 FORBEARANCE ADJ          5/16 182954.02    1582.35       642.40-          .00      .00      .00    642.40-24
               S/F LE REF#            C
 181    5/11/16 1324 PMT-FORBEAR SUSP         5/16 182954.02    1582.35       700.00           .00      .00      .00    700.00 24
               S/F LE REF#            C
 180    4/27/16 6040 FHAMIP    INS DISBURSED 5/16 182954.02     1582.35       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 5/01/16
               S/F     REF#
 179    4/18/16 02   PAYMENT                  5/16 182954.02    1771.88      1342.40        339.53   591.89   410.98       .00
                                Int pd to: 4/01/16
               S/F LE REF#
 178    4/18/16 2624 FORBEARANCE ADJ          4/16 183293.55    1360.90       642.40-          .00      .00      .00    642.40-24
               S/F LE REF#
SR497CR-02                              Case 18-30946-KKS
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JBAM1036                                          DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
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---TRANSACTION----                           NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------    DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                       CONTINUED

 177    4/15/16 1324 PMT-FORBEAR SUSP         4/16 183293.55    1360.90       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 176    3/31/16 0283 PAYMENT                  4/16 183293.55    1360.90      1342.40        338.44   592.98   410.98       .00
                                Int pd to: 3/01/16
               S/F LE REF#
 175    3/31/16 2624 FORBEARANCE ADJ          3/16 183631.99     949.92       642.40-          .00      .00      .00    642.40-24
               S/F LE REF#
 174    3/25/16 6040 FHAMIP    INS DISBURSED 3/16 183631.99      949.92       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 4/01/16
               S/F     REF#
 173    3/16/16 1499 ZZZZF-Late Charges       3/16 183631.99    1139.45         9.26           .00      .00      .00       .00      9.26 01
               S/F     REF#
 172    3/16/16 1324 PMT-FORBEAR SUSP         3/16 183631.99    1139.45       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 171    2/25/16 6040 FHAMIP    INS DISBURSED 3/16 183631.99     1139.45       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 3/01/16
               S/F     REF#
 170    2/16/16 11   PRINCIPAL PAYMENT        3/16 183631.99    1328.98        57.60         57.60      .00      .00       .00
               S/F LE REF#
 169    2/16/16 02   PAYMENT                  3/16 183689.59    1328.98      1342.40        337.17   594.25   410.98       .00
                                Int pd to: 2/01/16
               S/F LE REF#
 168    2/16/16 2624 FORBEARANCE ADJ          2/16 184026.76     918.00       700.00-          .00      .00      .00    700.00-24
               S/F LE REF#
 167    2/11/16 1324 PMT-FORBEAR SUSP         2/16 184026.76     918.00       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 166    1/21/16 6040 FHAMIP    INS DISBURSED 2/16 184026.76      918.00       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 2/01/16
               S/F     REF#
 165    1/15/16 11   PRINCIPAL PAYMENT        2/16 184026.76    1107.53        40.23         40.23      .00      .00       .00
               S/F LE REF#
 164    1/15/16 02   PAYMENT                  2/16 184066.99    1107.53      1359.77        335.95   595.47   428.35       .00
                                Int pd to: 1/01/16
               S/F LE REF#
 163    1/15/16 2624 FORBEARANCE ADJ          1/16 184402.94     679.18       700.00-          .00      .00      .00    700.00-24
               S/F LE REF#
 162    1/11/16 1324 PMT-FORBEAR SUSP         1/16 184402.94     679.18       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 161   12/29/15 6040 FHAMIP    INS DISBURSED 1/16 184402.94      679.18       189.53-          .00      .00   189.53-      .00
               PAYEE FHA     #            DUE 1/01/16
               S/F     REF#
 160   12/16/15 11   PRINCIPAL PAYMENT        1/16 184402.94     868.71        40.23         40.23      .00      .00       .00
               S/F LE REF#
 159   12/16/15 02   PAYMENT                  1/16 184443.17     868.71      1359.77        334.74   596.68   428.35       .00
                                Int pd to: 12/01/15
               S/F LE REF#
 158   12/16/15 2624 FORBEARANCE ADJ         12/15 184777.91     440.36       700.00-          .00      .00      .00    700.00-24
               S/F LE REF#
 157   12/11/15 1324 PMT-FORBEAR SUSP        12/15 184777.91     440.36       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 156   11/23/15 6040 FHAMIP    INS DISBURSED 12/15 184777.91     440.36       189.53-          .00      .00   189.53-      .00
SR497CR-02                            Case 18-30946-KKS
                                                Mr. Cooper Doc 13         Filed 12/03/18    Page 35 of 49               10/29/18 10:12:27
JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:     10
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                     CONTINUED

             PAYEE FHA     #            DUE 12/01/15
             S/F     REF#
 155 11/16/15 11   PRINCIPAL PAYMENT       12/15 184777.91      629.89        40.23         40.23      .00       .00       .00
             S/F LE REF#
 154 11/16/15 02   PAYMENT                 12/15 184818.14      629.89      1359.77        333.53   597.89    428.35       .00
                              Int pd to: 11/01/15
             S/F LE REF#
 153 11/16/15 2624 FORBEARANCE ADJ         11/15 185151.67      201.54       700.00-          .00      .00       .00    700.00-24
             S/F LE REF#
 152 11/12/15 6031 COUNTY TAX    DISBURSED 11/15 185151.67      201.54      1778.45-          .00      .00   1778.45-      .00
             PAYEE 31FL00G #10578 TAR DUE 11/30/15
             S/F WR REF# 10578 TAR 1720 FL
 151 11/10/15 1324 PMT-FORBEAR SUSP        11/15 185151.67     1979.99       700.00           .00      .00       .00    700.00 24
             S/F LE REF#
 150 10/29/15 6040 FHAMIP    INS DISBURSED 11/15 185151.67     1979.99       189.53-          .00      .00    189.53-      .00
             PAYEE FHA     #            DUE 11/01/15
             S/F     REF#
 149 10/16/15 11   PRINCIPAL PAYMENT       11/15 185151.67     2169.52        17.40         17.40      .00       .00       .00
             S/F LE REF#
 148 10/16/15 1326 PMT-CORPORATE ADVANCE 11/15 185169.07       2169.52        53.80           .00      .00       .00     53.80 26
             S/F LE REF#
 147 10/16/15 1401 ZZZZF-Late Charges      11/15 185169.07     2169.52         9.26           .00      .00       .00       .00      9.26 01
             S/F D   REF#
 146 10/16/15 02   PAYMENT                 11/15 185169.07     2169.52      1359.77        332.40   599.02    428.35       .00
                              Int pd to: 10/01/15
             S/F LE REF#
 145 10/16/15 2624 FORBEARANCE ADJ         10/15 185501.47     1741.17       740.23-          .00      .00       .00    740.23-24
             S/F LE REF#
 144 10/09/15 1324 PMT-FORBEAR SUSP        10/15 185501.47     1741.17       700.00           .00      .00       .00    700.00 24
             S/F LE REF#
 143 10/01/15 6040 FHAMIP    INS DISBURSED 10/15 185501.47     1741.17       193.54-          .00      .00    193.54-      .00
             PAYEE FHA     #            DUE 10/01/15
             S/F     REF#
 142 9/22/15 0283 PAYMENT                  10/15 185501.47     1934.71      1359.77        331.33   600.09    428.35       .00
                              Int pd to: 9/01/15
             S/F LE REF#
 141 9/22/15 2624 FORBEARANCE ADJ           9/15 185832.80     1506.36       659.77-          .00      .00       .00    659.77-24
             S/F LE REF#
 140 9/16/15 1499 ZZZZF-Late Charges        9/15 185832.80     1506.36         9.26           .00      .00       .00       .00      9.26 01
             S/F     REF#
 139 9/11/15 1324 PMT-FORBEAR SUSP          9/15 185832.80     1506.36       700.00           .00      .00       .00    700.00 24
             S/F LE REF#
 138 8/28/15 6040 FHAMIP     INS DISBURSED 9/15 185832.80      1506.36       193.54-          .00      .00    193.54-      .00
             PAYEE FHA     #            DUE 9/01/15
             S/F     REF#
 137 8/18/15 6050 HAZARD SFR     DISBURSED 9/15 185832.80      1699.90       879.00-          .00      .00    879.00-      .00
             PAYEE 5001140 #08182015IN DUE 9/07/15
             S/F WR REF# 08182015INS
 136 8/14/15 1326 PMT-CORPORATE ADVANCE     9/15 185832.80     2578.90        71.20           .00      .00       .00     71.20 26
             S/F LE REF#
 135 8/14/15 1401 ZZZZF-Late Charges        9/15 185832.80     2578.90         9.26           .00      .00       .00       .00      9.26 01
SR497CR-02                                 Case 18-30946-KKS
                                                     Mr. Cooper Doc 13       Filed 12/03/18    Page 36 of 49               10/29/18 10:12:27
JBAM1036                                            DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                                PAGE:     11
---TRANSACTION----                             NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------      DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                          CONTINUED

               S/F D   REF#
 134    8/14/15 02   PAYMENT                    9/15 185832.80    2578.90      1359.77        330.27   601.15   428.35       .00
                                 Int pd to:   8/01/15
               S/F LE REF#
 133    8/14/15 2624 FORBEARANCE ADJ          8/15 186163.07      2150.55       740.23-          .00      .00      .00    740.23-24
               S/F LE REF#
 132    8/11/15 1324 PMT-FORBEAR SUSP         8/15 186163.07      2150.55       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 131    8/06/15 6040 FHAMIP    INS DISBURSED 8/15 186163.07       2150.55       193.54-          .00      .00   193.54-      .00
               PAYEE FHA     #            DUE 8/01/15
               S/F     REF#
 130    7/27/15 6226 CORP ADV DISB            8/15 186163.07      2344.09        75.00-          .00      .00      .00     75.00-26
               PAYEE 63SSFSL #0001413330 DUE 7/24/15
               S/F SC REF# 0001413330
 129    7/27/15 6226 CORP ADV DISB            8/15 186163.07      2344.09        25.00-          .00      .00      .00     25.00-26
               PAYEE 63SSFSL #0001413330 DUE 7/24/15
               S/F SC REF# 0001413330
 128    7/27/15 6226 CORP ADV DISB            8/15 186163.07      2344.09        25.00-          .00      .00      .00     25.00-26
               PAYEE 63SSFSL #0001413330 DUE 7/24/15
               S/F SC REF# 0001413330
 127    7/27/15 0283 PAYMENT                  8/15 186163.07      2344.09      1359.77        329.21   602.21   428.35       .00
                                Int pd to: 7/01/15
               S/F LE REF#
 126    7/27/15 2624 FORBEARANCE ADJ          7/15 186492.28      1915.74       659.77-          .00      .00      .00    659.77-24
               S/F LE REF#
 125    7/16/15 1499 ZZZZF-Late Charges       7/15 186492.28      1915.74         9.26           .00      .00      .00       .00      9.26 01
               S/F     REF#
 124    7/10/15 1324 PMT-FORBEAR SUSP         7/15 186492.28      1915.74       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 123    7/01/15 6040 FHAMIP    INS DISBURSED 7/15 186492.28       1915.74       193.54-          .00      .00   193.54-      .00
               PAYEE FHA     #            DUE 7/01/15
               S/F     REF#
 122    6/16/15 11   PRINCIPAL PAYMENT        7/15 186492.28      2109.28        40.23         40.23      .00      .00       .00
               S/F LE REF#
 121    6/16/15 02   PAYMENT                  7/15 186532.51      2109.28      1359.77        328.02   603.40   428.35       .00
                                Int pd to: 6/01/15
               S/F LE REF#
 120    6/16/15 2624 FORBEARANCE ADJ          6/15 186860.53      1680.93       700.00-          .00      .00      .00    700.00-24
               S/F LE REF#
 119    6/11/15 1324 PMT-FORBEAR SUSP         6/15 186860.53      1680.93       700.00           .00      .00      .00    700.00 24
               S/F LE REF#
 118    6/08/15 6040 FHAMIP    INS DISBURSED 6/15 186860.53       1680.93       193.54-          .00      .00   193.54-      .00
               PAYEE FHA     #            DUE 6/01/15
               S/F     REF#
 117    5/15/15 11   PRINCIPAL PAYMENT        6/15 186860.53      1874.47        40.23         40.23      .00      .00       .00
               S/F LE REF#
 116    5/15/15 02   PAYMENT                  6/15 186900.76      1874.47      1359.77        326.83   604.59   428.35       .00
                                Int pd to: 5/01/15
               S/F LE REF#
 115    5/15/15 2624 FORBEARANCE ADJ          5/15 187227.59      1446.12       700.00-          .00      .00      .00    700.00-24
               S/F LE REF#
SR497CR-02                            Case 18-30946-KKS
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:     12
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                     CONTINUED

 114  5/11/15 1324 PMT-FORBEAR SUSP         5/15 187227.59     1446.12       700.00           .00      .00      .00    700.00 24
             S/F LE REF#
 113 5/06/15 6040 FHAMIP     INS DISBURSED 5/15 187227.59      1446.12       193.54-          .00      .00   193.54-      .00
             PAYEE FHA     #            DUE 5/01/15
             S/F     REF#
 112 4/10/15 11    PRINCIPAL PAYMENT        5/15 187227.59     1639.66         8.20          8.20      .00      .00       .00
             S/F LE REF#
 111 4/10/15 1326 PMT-CORPORATE ADVANCE     5/15 187235.79     1639.66        32.03           .00      .00      .00     32.03 26
             S/F LE REF#
 110 4/10/15 02    PAYMENT                  5/15 187235.79     1639.66      1359.77        325.75   605.67   428.35       .00
                              Int pd to: 4/01/15
             S/F LE REF#
 109 4/02/15 6040 FHAMIP     INS DISBURSED 4/15 187561.54      1211.31       193.54-          .00      .00   193.54-      .00
             PAYEE FHA     #            DUE 4/01/15
             S/F     REF#
 108 3/12/15 1326 PMT-CORPORATE ADVANCE     4/15 187561.54     1404.85        20.23           .00      .00      .00     20.23 26
             S/F LE REF#
 107 3/12/15 02    PAYMENT                  4/15 187561.54     1404.85      1359.77        324.70   606.72   428.35       .00
                              Int pd to: 3/01/15
             S/F LE REF#
 106 3/11/15 6226 CORP ADV DISB             3/15 187886.24      976.50        15.00-          .00      .00      .00     15.00-26
             PAYEE 63SSFSL #0001381172 DUE 3/10/15
             S/F SC REF# 0001381172
 105 3/05/15 6040 FHAMIP     INS DISBURSED 3/15 187886.24       976.50       193.54-          .00      .00   193.54-      .00
             PAYEE FHA     #            DUE 3/01/15
             S/F     REF#
 104 2/23/15 1408 ZZZZF-E PAY FEE           3/15 187886.24     1170.04         9.95           .00      .00      .00       .00       9.95 08
   Effective date: 2/22/15
             S/F C   REF#
 103 2/23/15 1499 ZZZZF-E PAY FEE           3/15 187886.24     1170.04         9.95           .00      .00      .00       .00       9.95 08
   Effective date: 2/22/15
             S/F     REF#
 102 2/23/15 1326 PMT-CORPORATE ADVANCE     3/15 187886.24     1170.04        52.74           .00      .00      .00     52.74 26
   Effective date: 2/22/15
             S/F WB REF#
 101 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
 100 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  99 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  98 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  97 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00       .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  96 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00       .00      37.26 01
SR497CR-02                            Case 18-30946-KKS
                                                Mr. Cooper Doc 13         Filed 12/03/18    Page 38 of 49               10/29/18 10:12:27
JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:     13
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                     CONTINUED

   Effective date: 2/22/15
             S/F D   REF#
  95 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  94 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        36.84           .00      .00      .00      .00      36.84 01
   Effective date: 2/22/15
             S/F D   REF#
  93 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  92 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        36.84           .00      .00      .00      .00      36.84 01
   Effective date: 2/22/15
             S/F D   REF#
  91 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  90 2/23/15 1401 ZZZZF-Late Charges        3/15 187886.24     1170.04        37.26           .00      .00      .00      .00      37.26 01
   Effective date: 2/22/15
             S/F D   REF#
  89 2/23/15 0283 PAYMENT                   3/15 187886.24     1170.04      1359.77        323.66   607.76   428.35      .00
   Effective date: 2/22/15 Int pd to: 2/01/15
             S/F WB REF#
  88 2/23/15 0283 PAYMENT                   2/15 188209.90      741.69      1396.49        322.62   608.80   465.07      .00
   Effective date: 2/22/15 Int pd to: 1/01/15
             S/F WB REF#
  87 2/17/15 1499 ZZZZF-Late Charges        1/15 188532.52      276.62        37.26           .00      .00      .00      .00      37.26 01
             S/F     REF#
  86 2/02/15 6040 FHAMIP     INS DISBURSED 1/15 188532.52       276.62       193.54-          .00      .00   193.54-     .00
             PAYEE FHA     #            DUE 2/01/15
             S/F     REF#
  85 1/16/15 1499 ZZZZF-Late Charges        1/15 188532.52      470.16        37.26           .00      .00      .00      .00      37.26 01
             S/F     REF#
  84 12/22/14 6040 FHAMIP    INS DISBURSED 1/15 188532.52       470.16       193.54-          .00      .00   193.54-     .00
             PAYEE FHA     #            DUE 1/01/15
             S/F     REF#
  83 12/17/14 60OV OVERAGE       DISBURSED 1/15 188532.52       663.70       536.76-          .00      .00   536.76-     .00
             PAYEE ALBONIG #0003300257 DUE 0/00/00
             S/F SC REF# 0003300257
  82 12/16/14 6226 CORP ADV DISB            1/15 188532.52     1200.46        15.00-          .00      .00      .00    15.00-26
             PAYEE 63SSFSL #0001360261 DUE 12/15/14
             S/F SC REF# 0001360261
  81 12/03/14 1408 ZZZZF-E PAY FEE          1/15 188532.52     1200.46        19.00           .00      .00      .00      .00      19.00 08
             S/F C   REF#
  80 12/03/14 1499 ZZZZF-E PAY FEE          1/15 188532.52     1200.46        19.00           .00      .00      .00      .00      19.00 08
             S/F     REF#
  79 12/03/14 02   PAYMENT                  1/15 188532.52     1200.46      1396.49        321.58   609.84   465.07      .00
                              Int pd to: 12/01/14
             S/F SP REF#
  78 12/03/14 0283 PAYMENT                 12/14 188854.10      735.39      1396.49        320.54   610.88   465.07      .00
                              Int pd to: 11/01/14
SR497CR-02                             Case 18-30946-KKS
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JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
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---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

LOAN#                      CONTINUED

             S/F SP REF#
  77 12/02/14 1408 ZZZZF-E PAY FEE          11/14 189174.64     270.32        19.00           .00      .00       .00      .00      19.00 08
             S/F C   REF#
  76 12/02/14 1499 ZZZZF-E PAY FEE          11/14 189174.64     270.32        19.00           .00      .00       .00      .00      19.00 08
             S/F     REF#
  75 12/02/14 1919 RECOVER ESCROW ADVANCE 11/14 189174.64       270.32       659.82-          .00      .00    659.82-     .00
             S/F SP REF#
  74 12/02/14 0283 PAYMENT                  11/14 189174.64     930.14      1396.49        319.51   611.91    465.07      .00
                              Int pd to: 10/01/14
             S/F SP REF#
  73 12/02/14 0283 PAYMENT                  10/14 189494.15     465.07      1396.49        318.48   612.94    465.07      .00
                              Int pd to: 9/01/14
             S/F SP REF#
  72 11/26/14 6040 FHAMIP    INS DISBURSED 9/14 189812.63          .00       193.54-          .00      .00    193.54-     .00
             PAYEE FHA     #             DUE 12/01/14
             S/F     REF#
  71 11/26/14 1940 FHAMIP    INS ADVANCE     9/14 189812.63     193.54       193.54           .00      .00    193.54      .00
             S/F     REF#
  70 11/17/14 1499 ZZZZF-Late Charges        9/14 189812.63        .00        37.26           .00      .00       .00      .00      37.26 01
             S/F     REF#
  69 11/13/14 6031 COUNTY TAX    DISBURSED 9/14 189812.63          .00      1946.72-          .00      .00   1946.72-     .00
             PAYEE 31FL00G #TAR 0043 F DUE 11/30/14
             S/F WR REF# TAR 0043 FL
  68 11/13/14 1931 COUNTY TAX    ADVANCE     9/14 189812.63    1946.72       466.28           .00      .00    466.28      .00
             S/F WR REF# TAR 0043 FL
  67 11/06/14 6040 FHAMIP    INS DISBURSED 9/14 189812.63      1480.44       193.54-          .00      .00    193.54-     .00
             PAYEE FHA     #             DUE 11/01/14
             S/F     REF#
  66 11/04/14 6226 CORP ADV DISB             9/14 189812.63    1673.98        15.00-          .00      .00       .00    15.00-26
             PAYEE 63SSFSL #             DUE 11/04/14
             S/F WR REF#
  65 10/30/14 0283 PAYMENT                   9/14 189812.63    1673.98      1396.49        317.46   613.96    465.07      .00
                              Int pd to: 8/01/14
             S/F SP REF#
  64 10/16/14 1499 ZZZZF-Late Charges        8/14 190130.09    1208.91        37.26           .00      .00       .00      .00      37.26 01
             S/F     REF#
  63 10/15/14 6226 CORP ADV DISB             8/14 190130.09    1208.91        15.00-          .00      .00       .00    15.00-26
             PAYEE 63SSFSL #             DUE 10/14/14
             S/F WR REF#
  62 10/01/14 6040 FHAMIP    INS DISBURSED 8/14 190130.09      1208.91       197.40-          .00      .00    197.40-     .00
             PAYEE FHA     #             DUE 10/01/14
             S/F     REF#
  61 9/16/14 1499 ZZZZF-Late Charges         8/14 190130.09    1406.31        37.26           .00      .00       .00      .00      37.26 01
             S/F     REF#
  60 8/28/14 6040 FHAMIP     INS DISBURSED 8/14 190130.09      1406.31       197.40-          .00      .00    197.40-     .00
             PAYEE FHA     #             DUE 9/01/14
             S/F     REF#
  59 8/26/14 6050 HAZARD SFR     DISBURSED 8/14 190130.09      1603.71       871.00-          .00      .00    871.00-     .00
             PAYEE 5001140 #08262014IN DUE 9/07/14
             S/F WR REF# 08262014INS
  58 8/18/14 1499 ZZZZF-Late Charges         8/14 190130.09    2474.71        37.26           .00      .00       .00      .00      37.26 01
SR497CR-02                            Case 18-30946-KKS
                                                Mr. Cooper Doc 13         Filed 12/03/18    Page 40 of 49               10/29/18 10:12:27
JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:     15
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

                          CONTINUED

            S/F     REF#
 57 8/04/14 0283 PAYMENT                   8/14 190130.09      2474.71      1396.49        316.44   614.98   465.07       .00
  Effective date: 8/02/14 Int pd to: 7/01/14
            S/F SP REF#
 56 7/25/14 6040 FHAMIP     INS DISBURSED 7/14 190446.53       2009.64       197.40-          .00      .00   197.40-      .00
            PAYEE FHA     #            DUE 8/01/14
            S/F     REF#
 55 7/16/14 1499 ZZZZF-Late Charges        7/14 190446.53      2207.04        37.26           .00      .00      .00       .00      37.26 01
            S/F     REF#
 54 7/03/14 6224 FORBEARANCE SUSP DISP     7/14 190446.53      2207.04        10.53-          .00      .00      .00     10.53-24
            PAYEE ALBONIG #0002817543 DUE 7/02/14
            S/F SC REF# 0002817543
 53 7/01/14 0283 PAYMENT                   7/14 190446.53      2207.04      1396.49        315.42   616.00   465.07       .00
                             Int pd to: 6/01/14
            S/F SP REF#
 52 6/27/14 6040 FHAMIP     INS DISBURSED 6/14 190761.95       1741.97       197.40-          .00      .00   197.40-      .00
            PAYEE FHA     #            DUE 7/01/14
            S/F     REF#
 51 6/16/14 1499 ZZZZF-Late Charges        6/14 190761.95      1939.37        36.84           .00      .00      .00       .00      36.84 01
            S/F     REF#
 50 5/29/14 0283 PAYMENT                   6/14 190761.95      1939.37      1396.49        314.40   617.02   465.07       .00
                             Int pd to: 5/01/14
            S/F SP REF#
 49 5/29/14 0283 PAYMENT                   5/14 191076.35      1474.30      1396.49        313.39   618.03   465.07       .00
                             Int pd to: 4/01/14
            S/F SP REF#
 48 5/28/14 6040 FHAMIP     INS DISBURSED 4/14 191389.74       1009.23       197.40-          .00      .00   197.40-      .00
            PAYEE FHA     #            DUE 6/01/14
            S/F     REF#
 47 5/27/14 6226 CORP ADV DISB             4/14 191389.74      1206.63        15.00-          .00      .00      .00     15.00-26
            PAYEE 63SSFSL #            DUE 5/23/14
            S/F WR REF#
 46 5/16/14 1499 ZZZZF-Late Charges        4/14 191389.74      1206.63        37.26           .00      .00      .00       .00      37.26 01
            S/F     REF#
 45 4/30/14 6226 CORP ADV DISB             4/14 191389.74      1206.63        15.00-          .00      .00      .00     15.00-26
            PAYEE 63SSFSL #            DUE 4/30/14
            S/F WR REF#
 44 4/29/14 6040 FHAMIP     INS DISBURSED 4/14 191389.74       1206.63       197.40-          .00      .00   197.40-      .00
            PAYEE FHA     #            DUE 5/01/14
            S/F     REF#
 43 4/24/14 6226 CORP ADV DISB             4/14 191389.74      1404.03        15.00-          .00      .00      .00     15.00-26
            PAYEE 63SSFSL #            DUE 4/23/14
            S/F WR REF#
 42 4/16/14 1499 ZZZZF-Late Charges        4/14 191389.74      1404.03        36.84           .00      .00      .00       .00      36.84 01
            S/F     REF#
 41 4/16/14 0283 PAYMENT                   4/14 191389.74      1404.03      1396.49        312.38   619.04   465.07       .00
                             Int pd to: 3/01/14
            S/F LE REF#
 40 4/16/14 2624 FORBEARANCE ADJ           3/14 191702.12       938.96       496.49-          .00      .00      .00    496.49-24
            S/F LE REF#
 39 4/01/14 1324 PMT-FORBEAR SUSP          3/14 191702.12       938.96       300.00           .00      .00      .00    300.00 24
SR497CR-02                            Case 18-30946-KKS
                                                Mr. Cooper Doc 13         Filed 12/03/18     Page 41 of 49              10/29/18 10:12:27
JBAM1036                                         DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                             PAGE:     16
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

                          CONTINUED

            S/F LE REF#
 38  3/28/14 6040 FHAMIP     INS DISBURSED 3/14 191702.12       938.96       197.40-           .00       .00   197.40-       .00
            PAYEE FHA      #            DUE 4/01/14
            S/F     REF#
 37 3/21/14 0283 PAYMENT                    3/14 191702.12     1136.36      1396.49         311.38    620.04   465.07        .00
                              Int pd to: 2/01/14
            S/F LE REF#
 36 3/21/14 2624 FORBEARANCE ADJ            2/14 192013.50      671.29       396.49-           .00       .00      .00     396.49-24
            S/F LE REF#
 35 3/17/14 1499 ZZZZF-Late Charges         2/14 192013.50      671.29        37.26            .00       .00      .00        .00      37.26 01
            S/F     REF#
 34 3/11/14 1324 PMT-FORBEAR SUSP           2/14 192013.50      671.29       600.00            .00       .00      .00     600.00 24
            S/F LE REF#
 33 2/27/14 6040 FHAMIP      INS DISBURSED 2/14 192013.50       671.29       197.40-           .00       .00   197.40-       .00
            PAYEE FHA      #            DUE 2/01/14
            S/F     REF#
 32 2/19/14 02    PAYMENT                   2/14 192013.50      868.69      1396.49         310.37    621.05   465.07        .00
                              Int pd to: 1/01/14
            S/F LE REF#
 31 2/19/14 2624 FORBEARANCE ADJ            1/14 192323.87      403.62       346.49-           .00       .00      .00     346.49-24
            S/F LE REF#
 30 2/18/14 1499 ZZZZF-Late Charges         1/14 192323.87      403.62        37.26            .00       .00      .00        .00      37.26 01
            S/F     REF#
 29 2/07/14 1324 PMT-FORBEAR SUSP           1/14 192323.87      403.62       350.00            .00       .00      .00     350.00 24
            S/F LE REF#
 28 1/27/14 6040 FHAMIP      INS DISBURSED 1/14 192323.87       403.62       197.40-           .00       .00   197.40-       .00
            PAYEE FHA      #            DUE 1/01/14
            S/F     REF#
 27 1/16/14 2664 NON CASH FEE ADJ           1/14 192323.87      601.02        37.26-           .00       .00      .00        .00      37.26-01
            S/F WC REF#
 26 1/16/14 1499 ZZZZF-Late Charges         1/14 192323.87      601.02        37.26            .00       .00      .00        .00      37.26 01
            S/F     REF#
 25 1/07/14 6040 FHAMIP      INS DISBURSED 1/14 192323.87       601.02       197.40-           .00       .00   197.40-       .00
            PAYEE FHA      #            DUE 12/01/13
            S/F     REF#
 24 12/30/13 6225 MISC SUSP DISB            1/14 192323.87      798.42      1000.00-           .00       .00      .00    1000.00-25
            PAYEE ALBONIG #0002202599 DUE 12/30/13
            S/F SC REF# 0002202599
 23 12/30/13 11   PRINCIPAL PAYMENT         1/14 192323.87      798.42        32.20          32.20       .00      .00        .00
            S/F AD REF#
 22 12/30/13 1325 PMT-MISC SUSP             1/14 192356.07      798.42      1000.00            .00       .00      .00    1000.00 25
            S/F AD REF#
 21 12/30/13 9311 REV Other         122613 1/14 192356.07       798.42      1032.20-       1032.20-      .00      .00        .00
  Effective date: 12/26/13
            S/F LB REF#
 20 12/26/13 11   PRINCIPAL PAYMENT         1/14 191323.87      798.42      1032.20        1032.20       .00      .00        .00
            S/F LB REF#
 19 12/26/13 1401 ZZZZF-Late Charges        1/14 192356.07      798.42        51.31            .00       .00      .00        .00      51.31 01
            S/F D   REF#
 18 12/26/13 2624 FORBEARANCE ADJ           1/14 192356.07      798.42        83.51-           .00       .00      .00      83.51-24
            S/F LB REF#
SR497CR-02                              Case 18-30946-KKS
                                                  Mr. Cooper Doc 13         Filed 12/03/18     Page 42 of 49               10/29/18 10:12:27
JBAM1036                                            DETAIL TRANSACTION HISTORY                                             JOB DT: 10/29/18
                                                                                                                                PAGE:     17
---TRANSACTION----                           NEXT -AFTER TRANS.BALANCES-        TOTAL     ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------    DUE   PRINCIPAL     ESCROW        AMOUNT      PRINCIPAL INTEREST   ESCROW SUSPENSE/CD

                            CONTINUED

 17 12/24/13 02   PAYMENT                   1/14 192356.07        798.42      1396.49         309.27    622.15   465.07      .00
                              Int pd to: 12/01/13
            S/F LE REF#
 16 12/24/13 2624 FORBEARANCE ADJ           12/13    192665.34    333.35       396.49-           .00       .00      .00   396.49-24
            S/F LE REF#
 15 12/16/13 2664 NON CASH FEE ADJ          12/13    192665.34    333.35         18.06-          .00       .00      .00      .00      18.06-01
            S/F WC REF#
 14 12/16/13 1499 ZZZZF-Late Charges        12/13    192665.34    333.35         18.06           .00       .00      .00      .00      18.06 01
            S/F     REF#
 13 12/11/13 1324 PMT-FORBEAR SUSP          12/13    192665.34    333.35       480.00            .00       .00      .00   480.00 24
  Effective date: 12/10/13
            S/F LB REF#
 12 12/05/13 1499 ZZZZF-Late Charges        12/13    192665.34    333.35         51.31           .00       .00      .00      .00      51.31 01
            S/F     REF#
 11 12/05/13 2543 ESCROW ADJ                12/13    192665.34    333.35       333.35            .00       .00   333.35      .00
            S/F LB REF#
 10 12/05/13 8103 NEW LOAN NOCASH           12/13    192665.34        .00   192665.34-     192665.34-      .00      .00      .00
            S/F LB REF#
                  * * * * TOTALS * * * *                                                   173471.30-30862.16
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11/27/2018                 Case 18-30946-KKS                    ESCPA
                                                               Doc 13- 9759 HARLINGTON
                                                                         Filed         ST 32533
                                                                                12/03/18     Page 44 of 49
                                                   Source: Escambia County Property Appraiser
                      Navigate Mode        Account     Reference
                                                                                                                Restore Full Page Version

             General Information                                     Assessments
             Reference:                                              Year       Land           Imprv           Total         Cap Val
             Account:                                                 2018        $28,500       $165,781       $194,281        $183,555
             Owners:          ALBONIGA JUAN CARLOS                    2017        $28,500       $153,011       $181,511        $179,780
             Mail:            9759 HARLINGTON ST                      2016        $28,500       $119,154       $147,654        $147,654
                              CANTONMENT, FL 32533
             Situs:           9759 HARLINGTON ST 32533                                            Disclaimer
             Use Code:        SINGLE FAMILY RESID
             Taxing
                              COUNTY MSTU
                                                                                            Tax Estimator
             Authority:
             Tax Inquiry:     Open Tax Inquiry Window
             Tax Inquiry link courtesy of Scott Lunsford
                                                                          File for New Homestead Exemption
             Escambia County Tax Collector                                              Online
              Sales
                                                                     2018 Certified Roll Exemptions
              Data
                                                                     HOMESTEAD EXEMPTION
                                                       Official
                                                       Records
              Sale Date Book Page        Value    Type
                                                        (New
                                                                     Legal Description
                                                       Window)
                                                                     LT 9 BLK A BRISTOL CREEK PHASE III PB 18 P 38 OR 6909 P 1758
             09/14/2012 6909 1758 $201,800 WD           View Instr
               07/2006     5951 1215 $870,000 WD        View Instr
             Official Records Inquiry courtesy of Pam Childers       Extra Features
             Escambia County Clerk of the Circuit Court and          None
             Comptroller
             Parcel
                                                                                                               Launch Interactive Map
             Information

             Section Map
             Id:               +
             03-1S-31-1
                               –
             Approx.
             Acreage:
             0.2174

             Zoned:
             MDR

             Evacuation
             & Flood
             Information
             Open Report




                                      View Florida Department of Environmental Protection(DEP) Data




                                                                                                                                            1/2
11/27/2018                 Case 18-30946-KKS                   ESCPA
                                                              Doc 13- 9759 HARLINGTON
                                                                        Filed         ST 32533
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                                                                      Buildings
             Address:9759 HARLINGTON ST, Year Built: 2012, Effective Year: 2012
             Structural Elements
             DECOR/MILLWORK-AVERAGE
             DWELLING UNITS-1
             EXTERIOR WALL-BRICK-FACE/VENEER
             FLOOR COVER-CARPET
             FOUNDATION-SLAB ON GRADE
             HEAT/AIR-CENTRAL H/AC
             INTERIOR WALL-DRYWALL-PLASTER
             NO. PLUMBING FIXTURES-8
             NO. STORIES-1
             ROOF COVER-DIMEN/ARCH SHNG
             ROOF FRAMING-HIP-HI PITCH
             STORY HEIGHT-0
             STRUCTURAL FRAME-WOOD FRAME



                 Areas - 3228 Total SF
             BASE AREA - 2430
             GARAGE FIN - 441
             OPEN PORCH FIN - 77
             PATIO - 280

                                                                        Images




                                                                       11/1/12

             The primary use of the assessment data is for the preparation of the current year tax roll. No responsibility or liability is
             assumed for inaccuracies or errors.




                                                                                                                                             2/2
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

 IN RE:                                                              CASE NO.: 18-30946-KKS
                                                                                CHAPTER 7
 Juan Carlos Alboniga,
       Debtor.
 _________________________________/

  ORDER GRANTING NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER’S
 MOTION FOR RELIEF FROM THE AUTOMATIC STAY SERVED ON NEGATIVE
                      NOTICE (Docket No. __)

       THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a

Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. __). No response

has been filed in accordance with Local Rule 2002-2. Accordingly, it is:


       ORDERED:

   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.

   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at 9759 Harlington Street,
       Cantonment, Florida 32533, in Escambia County, Florida, and legally described as:
       LOT 9, BLOCK A, BRISTOL CREEK PHASE III, BEING A PORTION OF
       SECTION 3, TOWNSHIP 1 SOUTH, RANGE 31 WEST, ESCAMBIA
       COUNTY, FLORIDA, ACCORDING TO PLAT RECORDED IN PLAT
       BOOK 18, PAGE 38, OF THE PUBLIC RECORDS OF SAID COUNTY.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured

       Creditor to exercise any and all in rem remedies against the property described above.

       Secured Creditor shall not seek an in personam judgment against Debtors.




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   4. The Secured Creditor made sufficient allegations and a request in the Motion to waive the

       14-day stay requirement of Bankruptcy Rule 4001(a)(3). No objection being raised, the

       automatic stay shall be lifted immediately upon execution of this order.


   DONE AND ORDERED on ________________________



                                                             ______________________________
                                                             KAREN K. SPECIE
                                                             U.S. Bankruptcy Judge


Attorney, Shreena Augustin, is directed to serve a copy of this order on interested parties and file
a certificate of service within 3 business days of entry of the order.

Prepared By:
Attorney for Secured Creditor
Robertson, Anschutz & Schneid, PL
6409 Congress Ave., Suite 100
Boca Raton, FL 33487

Juan Carlos Alboniga
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United States Trustee
110 E. Park Avenue
Suite 128
Tallahassee, FL 32301

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